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                                 UNITED STATES BANKRUPTCY COURT
                                      DISTRICT OF NEW JERSEY

     In re:                                                        Chapter 11
     LTL MANAGEMENT LLC, 1                                         Case No.: 23-12825 (MBK)
                               Debtor.                             Judge: Michael B. Kaplan

                      EVIDENTIARY STIPULATION FOR HEARING ON
                  THE MOTIONS TO DISMISS DEBTOR’S BANKRUPTCY CASE

              With respect to pending motions to dismiss the Chapter 11 Case and related joinders

 (collectively, the “Dismissal Motions”)                 filed    by    the   following      parties    (collectively,

 the “Movants”): (a) the Official Committee of Talc Claimants (the “TCC”) [Dkt. 286] (the “TCC

 Motion”); (b) the Ad Hoc Group of Mesothelioma Claimants [Dkt. 335]; (c) Paul Crouch

 [Dkt. 346] (the “Crouch Motion”); (d) the Ad Hoc Committee of States Holding Consumer

 Protection Claims (the “Ad Hoc States”) [Dkt. 350] (the “States Motion”); (e) law firms on behalf

 of various mesothelioma claimants [Dkt. 352]; (f) Maune Raichle Hartley French & Mudd, LLC

 [Dkt. 358]; (g) the Office of the United States Trustee for the District of New Jersey (the “U.S.

 Trustee”) [Dkt. 379] (the “UST Motion”); (h) Arnold & Itkin LLP (“Arnold & Itkin”) [Dkt. 384]

 (the “A&I Motion”); (i) certain claimants represented by The Barnes Law Group [Dkt. 473]; and

 (j) the States of New Mexico and Mississippi [Dkt. 480] (the “NM/AZ Motion”), the above-

 captioned debtor (“LTL” or “Debtor”), Johnson & Johnson (“J&J”), the Ad Hoc Committee of

 Supporting Counsel (“Ad Hoc Counsel”) and the Movants (together with the Debtor, J&J, and the

 Ad Hoc Counsel, the “Parties”) submit this stipulation related to evidence to be presented at the

 hearing on the Dismissal Motions (the “Dismissal Motions Hearing”) currently scheduled for June

 27-30, 2023.


 1      The last four digits of the Debtor’s taxpayer identification number are 6622. The Debtor’s address is 501 George
        Street, New Brunswick, New Jersey 08933.
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        1.     The Parties will jointly move the Court to admit into evidence the exhibits that were

 admitted at the April 18, 2023 hearing on the Debtor’s Motion Seeking an Order (I) Declaring

 That the Automatic Stay Applies or Extends to Certain Actions Against Non-Debtors, (II)

 Preliminarily Enjoining Such Actions, and (III) Granting a Temporary Restraining Order Ex Parte

 Pending a Hearing on a Preliminary Injunction Filed by LTL Management LLC (ECF No. 2 in

 Adv. Pro. No. 23-01092) (the “Preliminary Injunction Hearing”).

        2.     The Parties will jointly move the Court to admit into evidence the transcripts of

 witness testimony from the Preliminary Injunction Hearing. Any Party may use the other portions

 of the transcripts from the Preliminary Injunction Hearing in any manner consistent with the

 Federal Rules of Evidence.

        3.     The Parties will jointly move the Court to admit into evidence the exhibits that were

 admitted at the February 14-18, 2022 hearing on the motions to dismiss filed by the Official

 Committee of Talc Claimants (ECF No. 632) and the law firm of Arnold & Itkin, LLP, on behalf

 of certain talc personal injury claimants (ECF No. 766) and the related Preliminary Injunction

 Motion in the Adversary Proceeding (ECF No. 2 in Adv. Pro. No. 21-03032) in LTL’s prior

 bankruptcy proceedings (Case No. 21-30589 (MBK)) (the “Prior Motion to Dismiss and

 Preliminary Injunction Hearing”).

        4.     The Parties will jointly move the Court to admit into evidence the transcripts of

 witness testimony from the Prior Motion to Dismiss and Preliminary Injunction Hearing. Any

 Party may use the other portions of the transcripts from the Prior Motion to Dismiss and

 Preliminary Injunction Hearing in any manner consistent with the Federal Rules of Evidence.

        5.     Any Party may rely on the above-referenced exhibits or testimony for any purpose

 at the Dismissal Motions Hearing consistent with the Federal Rules of Evidence, regardless of who


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 proffered the exhibits or testimony.

        6.      Any Party may use the transcripts and briefing from the appeal regarding the Prior

 Motion to Dismiss and Preliminary Injunction Hearing (Case Nos. 22-2003 (L), 22-2004, 22-2005,

 22-2006, 22-2007, 22-2008, 22-2009, 22-2010, 22-2011 (Consolidated)) in any manner consistent

 with the Federal Rules of Evidence.

        7.      Direct testimony of the following fact witnesses will be offered by the Debtor or

 the Ad Hoc Counsel through written declarations made pursuant to 28 U.S.C. 1746: Robert

 Wuesthoff, Richard Dickinson, John Kim, James Murdica, Adam Lisman, Mikal Watts, and James

 Onder. Direct testimony of the following expert witnesses will be offered through written reports:

 Saul Burian, Theodore Rave, Royal Furgeson, Sheila Birnbaum, Greg Bell, Charles Mullin. All

 of the aforementioned witnesses will be available for live cross examination and redirect

 examination during the Dismissal Motions Hearing. This agreement does not limit the rights of

 any party to raise evidentiary objections to any declarations or expert reports (or any portions

 thereof). The parties agree that they shall have the opportunity to raise any such objections with

 the Court prior to declarations or expert reports (or any portions thereof) being received into

 evidence.

        8.      The Parties may submit testimony through deposition designations for the

 following fact witnesses: Majed Nachawati, Adam Pulaski, Erik Haas, Andy Birchfield, and

 Arthur Wong. Some or all deposition designations may be introduced through video recordings

 played at the Dismissal Motions Hearing. The Parties shall disclose to the other Parties which

 portions of the designations they are seeking to introduce through video by June 24. To the extent

 that any deposition designations are introduced through video recordings, both the affirmative and

 counter-designations shall be introduced together. Subject to the foregoing, live fact witnesses


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 shall be presented in the following order: Wuesthoff, Dickinson, Kim, Murdica, Watts, Onder and

 Lisman. Expert witnesses shall be presented in an order to be determined by the Party introducing

 the expert testimony after the conclusion of fact witness testimony. The Parties shall identify the

 order in which their experts testify by June 27. Witnesses may not be recalled.

        9.      The Parties agree to the following pre- and post-trial deadlines for the Dismissal

 Motions Hearing:

  Wednesday, June 21 (5 pm eastern)                    •   Parties exchange deposition
                                                           designations
  Thursday, June 22 (11:59 pm eastern)                 •   Debtor serves direct testimony
                                                           declarations of Wuesthoff, Dickinson,
                                                           Kim, and Murdica
  Friday, June 23 (5 pm eastern)                       •   Debtor and Ad Hoc Counsel serve
                                                           direct testimony declarations of
                                                           Lisman, Watts, and Onder
                                                       •   Parties exchange counter-designations
                                                       •   Parties exchange exhibit lists
  Monday, June 26 (5 pm eastern)                       •   Parties submit combined deposition
                                                           designations, with any unresolved
                                                           objections, to court
                                                       •   Parties submit exhibit lists, with any
                                                           unresolved objections, to court
                                                       •   Movants identify any objections to
                                                           testimony in direct declarations
                                                       •   Between 5 pm and 11:59 pm eastern,
                                                           Debtor and Ad Hoc Counsel submit
                                                           direct testimony declarations with all
                                                           objections thereto to Court
  Tuesday, June 27 – Friday, June 30                   •   Dismissal Motions Hearing
                                                       •   No opening statements
                                                       •   Closing statement times allocated as
                                                           follows: Debtor and Ad Hoc Counsel
                                                           (1.75 hours combined); Movants (2.5
                                                           hours combined).
  Wednesday, July 19                                   •   Parties submit to the court post-trial
                                                           findings of fact and conclusions of law

        10.     Nothing herein precludes the Parties from negotiating additional stipulations of fact

 or evidentiary stipulations to submit in connection with the Dismissal Motions Hearing. The

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 Parties reserve all rights to seek to admit additional evidence or to enter into additional stipulations

 in connection with the Dismissal Motions Hearing. Except with respect to the agreements set forth

 herein, the Parties reserve all objections under the Federal Rules of Evidence.

 AGREED AS TO FORM AND SUBSTANCE:

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